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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

  JARVIS WARD,                             )
                                           )
                     Petitioner,           )
                                           )            Cause No. 3:16-cv-464 RLM
               v.                          )             (Arising out of 3:12-cr-128)
                                           )
  UNITED STATES OF AMERICA,                )
                                           )
                     Respondent.           )

                               OPINION AND ORDER

       Jarvis Ward pleaded guilty to one count of racketeering, 18 U.S.C. §

 1962(c), and aiding and abetting the brandishing of a firearm in connection with

 a crime of violence or drug trafficking crime, 18 U.S.C. §§ 2, 924(c)(1)(A)(ii). This

 matter is before the court on his second or successive motion to vacate. 28 U.S.C.

 § 2255. For the reasons that follow, the court denies his motion.



                                   I. BACKGROUND

       Mr. Ward admitted to the following facts. He was a member of the Cash

 Out Boyz gang, which was involved in a pattern of criminal activity that included

 drug trafficking and violent crimes. In an act referred to as the “drug rip-off,” Mr.

 Ward and Javon Thomas, another gang member, robbed a drug dealer of a pound

 of marijuana after Mr. Thomas hit the dealer on the head with a revolver. Mr.

 Ward and Mr. Thomas split up the marijuana and sold it to others. Mr. Ward

 was also involved in selling marijuana on at least fifteen occasions. For example,

 he sold several ounces of marijuana out of the house of another gang member.
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       Based on these facts, Mr. Ward pleaded guilty to Count 1 of the indictment:

 associating with an enterprise, the Cash Out Boyz, affecting interstate

 commerce, to conduct or participate in the conduct of the enterprise’s affairs

 through a pattern of racketeering activity. 18 U.S.C. § 1962(c). This count

 explains that the members of the Cash Out Boyz “engaged in the distribution of

 controlled substances and in acts of violence, including acts involving murder,

 attempted murder, assaults with deadly weapons, robbery, and home invasions.”

 “Racketeering Act Nine” alleged that through his participation in the “drug rip-

 off,” Mr. Ward committed Hobbs Act robbery, 18 U.S.C. § 1951; Indiana robbery,

 Ind. Code 35-42-5-1; and possession of marijuana with intent to distribute, 21

 U.S.C. § 841(a)(1). Mr. Ward also pleaded guilty to Count 5, aiding and abetting

 the brandishing of a firearm “during and in relation to a crime of violence and

 drug trafficking crime.” 18 U.S.C. §§ 2, 924(c)(1)(A)(ii).

       This court sentenced Mr. Ward to 168 months incarceration for the

 racketeering charge and 84 months for the brandishing charge, to be served

 consecutively for a total of 252 months. Regarding the brandishing charge, the

 sentencing memorandum explains that Mr. Ward pleaded guilty to “brandishing

 a firearm during a crime of violence,” and the judgment only refers to brandishing

 a firearm during a crime of violence. The brandishing count carried a mandatory

 minimum sentence of 84 months, which the sentencing guidelines also

 recommended. § 924(c)(1)(A)(ii); U.S.S.G. § 2K2.4(b). When adding in the

 racketeering conviction, the total guideline recommendation was 252 to 294

 months. The court sentenced Mr. Ward on the low end of the guideline range.



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       On June 26, 2015, the Supreme Court decided Johnson v. United States,

 135 S. Ct. 2551 (2015). Johnson concerned the Armed Career Criminal Act,

 which imposes a fifteen-year mandatory minimum sentence for a defendant who

 committed three prior “violent felonies.” The statute defines “violent felony” as:

       any crime punishable by imprisonment for a term exceeding one
       year . . . that –

       (i) has as an element the use, attempted use, or threatened use of
       physical force against the person of another [known as the “elements
       clause”]; or

       (ii) is burglary, arson, or extortion, involves use of explosives [known
       as the “enumerated offenses clause”], or otherwise involves conduct
       that presents a serious potential risk of physical injury to another
       [known as the “residual clause”];

 18 U.S.C. § 924(e)(2)(B) (emphasis added). Johnson held that the residual clause

 is unconstitutionally vague under the Due Process Clause, U.S. CONST. amend.

 V. Johnson announced a substantive rule retroactively applicable to cases on

 collateral review. Welch v. United States, 136 S. Ct. 1257, 1265 (2016).

       Mr. Ward wasn’t charged with violating the ACCA, but § 924(c)(1)(A)(ii),

 which criminalizes brandishing a firearm “during and in relation to any crime of

 violence or drug trafficking crime.” “Crime of violence” under § 924(c) is defined

 with similar language to that in the ACCA as an “offense that is a felony and—

       (A) has as an element the use, attempted use or threatened use of
       physical force against the person or property of another [the
       “elements clause”], or

       (B) that by its nature, involves a substantial risk that physical force
       against the person or property of another may be used in the course
       of committing the offense [the “residual clause”].




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 § 924(c)(3). During briefing on this motion, the court of appeals held that, after

 Johnson, the “residual clause” in § 924(c) is also unconstitutionally vague.

 United States v. Cardena, 842 F.3d 959, 996 (7th Cir. 2016). Mr. Ward argues

 that his § 924(c) conviction is based on that unconstitutionally vague language,

 and so the § 924(c) conviction should be vacated.



                               II. STANDARD OF REVIEW

       One convicted of a federal crime can challenge his sentence on grounds

 that the sentence violates the Constitution or laws of the United States. 28 U.S.C.

 § 2255(a). Mr. Ward filed his motion to vacate or correct his sentence within one

 year of when “the right asserted was initially recognized by the Supreme Court”

 in United States v. Johnson, 135 S. Ct. 2551 (2015) and “made retroactively

 applicable to cases on collateral review” in Welch v. United States, 136 S. Ct.

 1257 (2016). § 2255(f)(3). This is a successive petition for Mr. Ward, which the

 court of appeals authorized. §§ 2244, 2255(h).

       An evidentiary hearing isn’t required if “the motion and files and records

 of the case conclusively show that the petitioner is entitled to no relief.” 28 U.S.C.

 § 2255. After reviewing Mr. Ward’s petition and the record of this case, the court

 concludes that the factual and legal issues raised can be resolved on the record,

 so no hearing is necessary. See Menzer v. United States, 200 F.3d 1000, 1006

 (7th Cir. 2000) (hearing not required where the record conclusively demonstrates

 that a petitioner is entitled to no relief on § 2255 motion).




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                                   III. DISCUSSION

       Mr. Ward’s argument that Johnson invalidates his § 924(c) conviction only

 matters if his conviction rested on the invalidated language in the definition of

 “crime of violence,” § 924(c)(3). See United States v. Stanley, 827 F.3d 562, 565

 (7th Cir. 2016). Mr. Ward thus needs to show that he wasn’t convicted based on

 a “drug trafficking crime,” 18 U.S.C. § 924(c)(2), and that he wasn’t convicted

 based on the “elements clause” of the definition of “crime of violence,” §

 924(c)(3)(A). If either, Johnson doesn’t come into play and the conviction stands.

       Mr. Ward argues that his § 924(c) conviction was based on committing a

 “crime of violence,” not a “drug trafficking crime.” There’s some inconsistency in

 how the crime is described throughout the proceedings. Most references include

 both types of crimes. The indictment refers to “the carrying of a firearm during

 and in relation to a crime of violence and drug trafficking crime.” Mr. Ward’s plea

 agreement states that he pleads guilty to “aiding and abetting the carrying of a

 firearm during a drug trafficking crime/crime of violence.” At the change of plea

 hearing, the court refers to Count 5 as based on “a drug trafficking crime or

 crime of violence,” and the United States attorney describes the crime as carrying

 a firearm “during a federal drug trafficking crime or a federal crime of violence.”

 The pre-sentence investigation report also references “crime of violence/drug-

 trafficking activity.”

       Two documents deviate, describing the § 924(c) conviction as based on a

 “crime of violence” without referencing a “drug trafficking crime.” The judgment

 describes “BRANDISHING A FIREARM DURING A CRIME OF VIOLENCE; 18:2



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 AIDING AND ABETTING,” and the sentencing memorandum mentions

 “brandishing a firearm during a crime of violence.”

       The descriptions of the § 924(c) violation that really matter to this analysis

 are the indictment and the plea agreement. Like the indictment in Davila v.

 United States, 843 F.3d 729 (7th Cir. 2016), “[t]he indictment charged [Mr. Ward]

 with possessing the gun in connection with both” a drug trafficking crime and a

 crime of violence. Davila, 843 F.3d at 731. Section 924(c) “defines a stand-alone

 crime.” Id. It “requires a minimum sentence of five years [or eight years when

 brandished] if the firearm is possessed during and in relation to a drug offense

 or crime of violence ‘for which the person may be prosecuted’ (emphasis added);

 it does not require prosecution for or conviction of that other offense.” Id. What’s

 relevant is whether Mr. Ward may be prosecuted for a “drug trafficking crime” or

 a “crime of violence” based on the elements clause.

       In his plea agreement, Mr. Ward admitted to robbing a drug dealer of about

 one pound of marijuana. His associate hit the dealer over the head with a

 revolver. The two then split up the marijuana and sold it to others. At the

 minimum, Mr. Ward admitted to the factual basis for possessing with intent to

 distribute marijuana. 21 U.S.C. § 841(a)(1). Even though he wasn’t convicted of

 possession with intent to distribute, he “may be prosecuted” for it because he

 admitted to facts sufficient to prove the crime.

       A “drug trafficking crime” “means any felony punishable under the

 Controlled Substances Act (21 U.S.C. 801 et seq.), the Controlled Substances

 Import and Export Act (21 U.S.C. 951 et seq.), or chapter 705 of title 46.” §



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 924(c)(2). Possessing marijuana with intent to distribute, 21 U.S.C. § 841(a)(1),

 is “a felony punishable under the Controlled Substances Act” and so it’s a “drug

 trafficking crime” under § 924(c)(2). See Moncrieff v. Holder, 133 S. Ct. 1678,

 1686 (2013). Mr. Ward thus admitted to a factual basis to support the § 924(c)

 conviction that has nothing to do with Johnson and the definition of “crime of

 violence.” Mr. Ward argues that “mere possession of marijuana” doesn’t satisfy

 21 U.S.C. § 841(a), but he ignores the admission that the drugs were possessed

 so that Mr. Ward and his partner could split them up and sell them. Mr. Ward

 and the court reiterated these facts at the change of plea hearing.1

        Mr. Ward argues that if Count 5 of the indictment alleged a violation of §

 924(c) based on either a drug trafficking offense or a crime of violence, the charge

 would be unconstitutionally duplicitous. Even if Mr. Ward were correct, such a

 legal problem with the indictment would have existed regardless of Johnson. He

 could have and should have addressed it with the trial court or on direct appeal,

 not for the first time on collateral review. See Bousley v. United States, 523 U.S.

 614, 622 (1998); Stanley v. United States, 627 F.3d 562, 565 (7th Cir. 2016).

        Further, “[t]here is a deeper problem with [Mr. Ward’s] challenge to his

 conviction under § 924(c): He pleaded guilty.” Davila v. United States, 843 F.3d

 729, 731 (7th Cir. 2016). This decision “conferred benefits including the

 dismissal of [one] other serious charge[ ]” (RICO conspiracy). Id. at 732. “When




 1 Hobbs Act robbery, 18 U.S.C. § 1951(b)(1), also remains a “crime of violence” after Johnson.

 United States v. Anglin, 846 F.3d 954, 965 (7th Cir. 2017). If the foundation for Mr. Ward’s §
 924(c) conviction were Hobbs Act robbery, not possession with intent to distribute, then he “may
 be prosecuted” for a “crime of violence,” and so the conviction would still stand.


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 the judgment of conviction upon a guilty plea has become final and the offender

 seeks to reopen the proceeding, inquiry is ordinarily confined to whether the

 underlying plea was both counseled and voluntary.” Id. If so, “the conviction and

 the plea, as a general rule, foreclose the collateral attack,” unless the court

 lacked subject-matter jurisdiction. Id. There’s no argument that any of these

 exceptions apply. Mr. Ward accepted the benefits of his guilty plea without

 questioning whether the underlying predicate was a drug crime or crime of

 violence and whether the “drug rip-off” fit into one of those categories.

       Mr. Ward admitted facts sufficient to convict him for a “drug trafficking

 crime.” 18 U.S.C. § 924(c)(2). His conviction for brandishing a firearm in

 connection with a “drug trafficking crime” or “crime of violence” for which he

 “may be prosecuted”, § 924(c)(1)(A)(ii), will stand.



                                   IV. CONCLUSION

       Based on the foregoing, the court DENIES Mr. Ward’s § 2255 motion to

 vacate and correct his sentence [Doc. No. 345] and directs the Clerk to DISMISS

 the associated civil case [Doc. No. 336].

       SO ORDERED.

       ENTERED: March 1, 2017

                                                 /s/ Robert L. Miller, Jr.
                                                Judge
                                                United States District Court




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